

People v Coates (2021 NY Slip Op 00393)





People v Coates


2021 NY Slip Op 00393


Decided on January 26, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 26, 2021

Before: Gische, J.P., Kern, Moulton, Shulman, JJ. 


Ind No. 3251/15 Appeal No. 12949 Case No. 2018-03743 

[*1]The People of the State of New York, Respondent, 
vCraig Coates, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jody Ratner of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Felicia A. Yancey of counsel), for respondent.



Judgment, Supreme Court, Bronx County (John Moore, J. at plea; Nicholas Iacovetta, J. at sentencing), rendered June 19, 2018, convicting defendant of criminal sale of a controlled substance in the third degree, and sentencing him to a term of two years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of amending the sentence and commitment sheet in accordance with this decision, and otherwise affirmed.
Regardless of whether defendant made a valid waiver of the right to appeal, we perceive no basis for reducing the sentence. The parties agree that the Drug Type section
of the sentence and commitment sheet should be amended to reflect that the correct drug is cocaine.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 26, 2021








